                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CIVIL ACTION NO. 3:12-CR-00239-GCM
 UNITED STATES,

                Plaintiff,

    v.                                                         ORDER

 CARRIE TYSON,

                Defendant.


         THIS MATTER COMES before this Court on the Court’s own motion. Defendant Carrie

Tyson filed a Motion for Compassionate Release/Reduction of Sentence (Doc. No. 1336). The

Court instructs the Government to respond to this Motion within sixty (60) days of entry of this

Order.

         SO ORDERED.


                                   Signed: January 12, 2021




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